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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

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In re: Marie King Case No. 16-17002-AJC
Chapter 13

Debtor /

Motion for Issuance of Discharge and Notice of
Deadline to Object

NOTICE OF TIME TO OBJECT

Any interested party who fails to file and serve a written response to this motion
within 21 days after the date of service of this motion, pursuant to Local Rules 4004-
3(A)(3) and 9013-1(D), will be deemed to have consented to the entry of an order of
discharge.

Undersigned counsel for the debtor(s) in the above-captioned matter requests the
issuance of an order of discharge for the debtor(s) and represents as follows:

1. The chapter 13 trustee has issued a Notice of Completion of Plan Payments on
July 19, 2021. The undersigned counsel for the debtor(s) is requesting the court issue a
discharge in this case.

2 The debtor is deceased and attached hereto is a true and correct copy of the
redacted death certificate for the debtor, which has been redacted to remove all personal
identifiable information such as the debtor's cause of death and social security number.

3. Compliance with 11 U.S.C. §101(14A):

Xx A. To the best of the undersigned’s knowledge, the debtor has not been
required by a judicial or administrative order, or by statute to pay any domestic
support obligation as defined in 11 U.S.C. §101(14A) either before this bankruptcy
was filed or at any time after the filing of this bankruptcy,

or

B. To the best of undersigned’s knowledge, the debtor has paid all
amounts due under any and all domestic support obligations as defined in 11
U.S.C. §101(14A), required by a judicial or administrative order or by statute,
including amounts due before, during and after this case was filed. The name
and address of each holder of a domestic support obligation is as follows:

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(NAME)
(ADDRESS)

4. Prior to the debtor’s death, the debtor's mailing address for receipt of court notices
was as follows: [Note: Providing an updated debtor address here constitutes a change
of address pursuant to Local Rule 2002-1(G). No separate Notice of Change of Address
is required to be filed.]

Marie King
22320 SW 118" Court
Miami, FL 33170

5. Prior to the debtor's death, the name and address of the debtor’s most recent
employer was as follows:

N/A-retired

6. The following creditors hold a claim that is not discharged under 11 U.S.C.
§523(a)(2) or (a)(4) or a claim that was reaffirmed under 11 U.S.C. §524(c):

N/A

7. Compliance with 11 U.S.C. §1328(h):

X A. The debtor has not claimed an exemption under §522(b)(3) in
an amount in excess of $170,350* in property of the kind
described in §522(q)(1) [generally the debtor's homestead];

or

“Amounts are subject to adjustment on 4/01/22, and every 3 years thereafter with respect
to cases commenced on or after the date of adjustment.

B. The debtor has claimed an exemption under §522(b)(3) in an
amount in excess of $170,350* in property of the kind described in
§522(q)(1) but there is no pending proceeding in which the debtor
may be found guilty of a felony of a kind described in §522(q)(1)(A)
or found liable for a debt of the kind described in §522(q)(1)(B).

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8. The debtor has not received a discharge in a case filed under chapter 7, 11, or 12
during the 4 year period preceding the filing of the instant case or in a case filed
under chapter 13 during the 2 year period preceding the filing of the instant case.

WHEREFORE, undersigned counsel for the Debtor(s) prays that this Court issue

an order of discharge, and for any other relief that this Court deems just and appropriate.

Dated: 07/27/2021

LF-97C (12/01/20)

Name of Movant: Matt Bayard Esq.

Name of Firm: Legal Services of Greater Miami Inc
Address: 4343 W. Flagler St., Miami, FL, 33134
Main Tel. Number: (305) 438-2413

Direct Dial Tel Number: (305) 438-2413

Facsimile Number: (305) 438-2413

E-mail Address: mbayard@legalservicesmiami.org
Florida Bar No.: 0032209

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° [Signature of Movant]

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SURVIVING SPOUSE NAME: NONE, ’ 2 &

FATHER'S/PARENT'S NAME: ISADORE SLACK
MOTHER'S/PARENT'S NAME: CARRIE BROWN

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1 FUNERAL DIRE! TORILICENSE NUMBER: VAN G BROWN SR, F046163 , \
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ia TIME OF DEATH (24HOUR): 2386 DATE CERTIFIED: OCTOBER 19, 2018
iy) qa CERTIFIER'S NAME: ARSANDO NOE LINARES REREZ .
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